 Case: 1:14-cv-01748 Document #: 1614 Filed: 11/23/16 Page 1 of 6 PageID #:21965



                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS

IN RE: TESTOSTERONE REPLACEMENT                  MDL No. 2545
THERAPY PRODUCTS LIABILITY
LITIGATION

This Document Relates to All Cases               Master Docket Case No. 1:14-cv-01748

                                                 Honorable Matthew F. Kennelly


                              STATUS REPORT REGARDING
                               BRANCH LAW FIRM CASES

       The Court directed counsel to file this status report regarding substitution of counsel, the

status of providing plaintiff’s fact sheets, and the status of any pending motions to dismiss

involving Branch Law Firm cases. Counsel for Meyers & Flowers have provided the

corresponding status report for the 333 cases wherein they have entered their appearance,

attached hereto as Exhibit A. Counsel for the Branch Law Firm have likewise provided a status

report for their remaining 56 cases, attached as Exhibit B.

       With respect to the status of any pending motions to dismiss, the parties have attached the

relevant cases from last week’s CMO 26 dismissal list, attached hereto as Exhibit C.



Dated: November 23, 2016                      Respectfully submitted,

                                              /s/ Trent B. Miracle
                                              Trent B. Miracle
                                              SIMMONS HANLY CONROY
                                              One Court Street
                                              Alton, IL 62002
                                              Telephone: (618) 259-2222
                                              Facsimile: (618) 259-2251
                                              tmiracle@simmonsfirm.com

                                              Plaintiffs’ Co-Lead Counsel


                                                 1
Case: 1:14-cv-01748 Document #: 1614 Filed: 11/23/16 Page 2 of 6 PageID #:21966



                                    Ronald Johnson, Jr.
                                    SCHACHTER, HENDY & JOHNSON PSC
                                    909 Wrights Summit Parkway, Suite 210
                                    Ft. Wright, KY 41011
                                    Phone: (859) 578-4444
                                    Fax: (859) 578-4440
                                    rjohnson@pschachter.com

                                    Plaintiffs’ Co-Lead Counsel

                                    Christopher A. Seeger
                                    SEEGER WEISS LLP
                                    77 Water Street
                                    New York, NY 10005
                                    Phone: (212) 584-0700
                                    Fax: (212) 584-0799
                                    cseeger@seegerweiss.com

                                    Plaintiffs’ Co-Lead Counsel

                                    David M. Bernick
                                    Paul, Weiss, Rifkind, Wharton & Garrison LLP
                                    1285 Avenue of the Americas
                                    New York, NY 10019-6064
                                    Phone: (212) 373-3405
                                    Fax: (212) 492-0405
                                    dbernick@paulweiss.com

                                    Attorney for AbbVie, Inc.

                                    Hope S. Freiwald
                                    DECHERT LLP
                                    Cira Center
                                    2929 Arch Street
                                    Philadelphia, PA 19104
                                    Tel: (215) 994-2514
                                    Fax: (215) 994-2222
                                    hope.freiwald@dechert.com

                                    Attorney for AbbVie Inc. and Abbott Laboratories

                                    David E. Stanley
                                    Janet H. Kwuon
                                    REED SMITH LLP
                                    355 S. Grand Avenue, Suite 2900
                                    Los Angeles, CA 90071

                                       2
Case: 1:14-cv-01748 Document #: 1614 Filed: 11/23/16 Page 3 of 6 PageID #:21967



                                    Tel: (213) 457-8000
                                    dstanley@reedsmith.com
                                    jkwuon@reedsmith.com

                                    Attorneys for Eli Lilly and Company and Lilly USA
                                    LLC

                                    Andrew K. Solow
                                    KAYE SCHOLER LLP
                                    250 West 55th Street
                                    New York, NY 10019
                                    Tel: (212) 836-7740
                                    Fax: (212) 836-6776
                                    andrew.solow@kayescholer.com

                                    Pamela J. Yates
                                    KAYE SCHOLER LLP
                                    1999 Avenue of the Stars, Suite 1700
                                    Los Angeles, CA 90067
                                    Tel: (310) 788-1278
                                    Fax: (310) 788-1200
                                    pamela.yates@kayescholer.com

                                    Attorneys for Endo Pharmaceuticals Inc. and
                                    Auxilium Pharmaceuticals, Inc.

                                    Loren H. Brown
                                    Cara D. Edwards
                                    DLA PIPER LLP (US)
                                    1251 Avenue of the Americas
                                    New York, NY 10020
                                    Phone: (212) 335-4500
                                    Fax: (212) 335-4501
                                    loren.brown@dlapiper.com
                                    cara.edwards@dlapiper.com

                                    Matthew A. Holian
                                    Jessica C. Wilson
                                    DLA PIPER LLP (US)
                                    33 Arch Street, 26th Floor
                                    Boston, MA 02110
                                    Phone: (617) 406-6000
                                    Fax: (617) 406-6001
                                    Email: matt.holian@dlapiper.com
                                    Email: jessica.wilson@dlapiper.com



                                       3
Case: 1:14-cv-01748 Document #: 1614 Filed: 11/23/16 Page 4 of 6 PageID #:21968



                                    Attorneys for Pfizer Inc. and Pharmacia & Upjohn
                                    Company LLC

                                    Joseph P. Thomas
                                    Jeffrey F. Peck
                                    K.C. Green
                                    Jeffrey D. Geoppinger
                                    ULMER & BERNE LLP
                                    600 Vine Street, Suite 2800
                                    Cincinnati, OH 45202
                                    Phone: (513) 698-5000
                                    Fax: (513) 698-5001
                                    E-mail: jthomas@ulmer.com

                                    Attorneys for Actavis, Inc., Actavis Pharma, Inc.,
                                    Actavis Laboratories UT, Inc., and Anda, Inc.

                                    James W. Matthews (pro hac vice)
                                    Katy E. Koski (pro hac vice)
                                    Jason L. Drori (pro hac vice)
                                    FOLEY & LARDNER LLP
                                    111 Huntington Ave.
                                    Boston, MA 02199
                                    Tel: (617) 342 – 4000
                                    Fax: (617) 342 – 4001
                                    jmatthews@foley.com
                                    kkoski@foley.com
                                    jdrori@foley.com

                                    Jonathan W. Garlough
                                    FOLEY & LARDNER LLP
                                    321 North Clark Street, Suite 2800
                                    Chicago, IL 60654-5313
                                    Tel: (312) 832 – 4500
                                    Fax: (312) 832 – 4700
                                    jgarlough@foley.com

                                    Attorneys for Actavis, Inc., Actavis Pharma, Inc.,
                                    Actavis Laboratories UT, Inc., and Anda, Inc.

                                    William F. Cavanaugh, Jr. (pro hac vice)
                                    Jonah Moses Knobler (pro hac vice)
                                    PATTERSON BELKNAP WEBB & TYLER
                                    1133 Avenue of the Americas
                                    New York, NY 10036-6710
                                    Tel: (212) 336-2000

                                       4
Case: 1:14-cv-01748 Document #: 1614 Filed: 11/23/16 Page 5 of 6 PageID #:21969



                                    Fax: (212) 336-2222
                                    wfcavanaugh@pbwt.com
                                    jknobler@pbwt.com

                                    Attorneys for AbbVie Inc. and Abbott Laboratories




                                       5
  Case: 1:14-cv-01748 Document #: 1614 Filed: 11/23/16 Page 6 of 6 PageID #:21970



                                  CERTIFICATE OF SERVICE


        I hereby certify that on November 23, 2016, the foregoing document was filed via the

Court’s CM/ECF system, which will automatically serve and send email notification of such

filing to all registered attorneys of record.


                                                    /s/ Brendan A. Smith




                                                6
